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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 ERIC SORENSON,
                                             Plaintiff,
                                                                           NOTICE OF MOTION
                  - against -
                                                                           Index No.
 SANDRA SIMPSON,                                                           15-cv-4614 (AMD-ST)

                                             Defendant.

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         PLEASE TAKE NOTICE that upon the annexed Affirmation of Maria Isabel S.

 Guerrero, Esq. and the accompanying Memorandum of Law, and all prior pleadings and

 proceedings in this action, Defendant Sandra Simpson will move this Court, before the

 Honorable Ann M. Donnelly, U.S.D.J., at the United States District Court for the Eastern District

 of New York, 225 Cadman Plaza East, Brooklyn, NY 11201, on October 19, 2016, at 10:00 a.m.,

 or as soon thereafter as counsel may be heard, for an order pursuant to Rule 12(b)(6) of the

 Federal Rules of Civil Procedure dismissing the Amended Complaint in its entirety.


 DATED:           August 31, 2016
                  Albany, NY


                                                               ____________________________________
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